

LR Med., PLLC v Nationwide Ins. Co. (2024 NY Slip Op 50204(U))



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LR Med., PLLC v Nationwide Ins. Co.


2024 NY Slip Op 50204(U)


Decided on February 16, 2024


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on February 16, 2024
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : CHEREÉ A. BUGGS, J.P., LISA S. OTTLEY, PHILLIP HOM, JJ



2023-656 K C

LR Medical, PLLC, as Assignee of Gardner-Bowlyn, Janet, Appellant, 
againstNationwide Insurance Company, Respondent. 




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Law Offices of Brian Rayhill (Ivy Cherian and Lawrence Wolkow of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Keisha M. Alleyne, J.), dated April 10, 2023. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross-motion for summary judgment.




ORDERED that the order is modified by providing that defendant's motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court granting defendant's motion for summary judgment dismissing the complaint on the ground that the policy limits had been exhausted, and denying plaintiff's cross-motion for summary judgment.
For the reasons stated in JSJ Anesthesia Pain Mgt., PLLC, as Assignee of Gardner-Bowlyn, Janet v Nationwide Ins. Co. (— Misc 3d —, 2024 NY Slip Op — [appeal No. 2023-655 K C], decided herewith), the order is modified by providing that defendant's motion for summary judgment dismissing the complaint is denied.
BUGGS, J.P., OTTLEY and HOM, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: February 16, 2024









